                      Case 23-90588 Document 1 Filed in TXSB on 05/24/23 Page 1 of 34

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               QualTek HoldCo, LLC


                                                 BCP QualTek HoldCo, LLC; Roth CH III Merger Sub, LLC
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer              8         3   –      0     9     4      6       4      8     4
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       475 Sentry Parkway E
                                       Number               Street                                    Number         Street

                                       Suite 200
                                                                                                      P.O. Box
                                       Blue Bell, Pennsylvania 19422
                                          City                            State       Zip Code        City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Montgomery County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.qualtekservices.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                      Case 23-90588 Document 1 Filed in TXSB on 05/24/23 Page 2 of 34
Debtor            QualTek HoldCo, LLC                                                 Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            2371 (Utility System Construction)

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☒      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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Debtor           QualTek HoldCo, LLC                                               Case number (if known)
          Name



10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                      Relationship    Affiliate
                                                    Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                        District      Southern District of Texas
   List all cases. If more than 1,                                                                                 When            05/24/2023
   attach a separate list.                        Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this     Check all that apply:
    district?
                                      ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have       ☒ No
    possession of any real            ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?
                                                ☐     It needs to be physically secured or protected from the weather.

                                                ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                       (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                       other options).
                                                ☐     Other


                                                Where is the property?
                                                                                      Number          Street



                                                                                      City                                 State       Zip Code



                                                Is the property insured?
                                                ☐ No

                                                ☐ Yes.         Insurance agency

                                                               Contact name
                                                               Phone




                  Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                     ☒ Funds will be available for distribution to unsecured creditors.
                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of              ☐     1-49                         ☐     1,000-5,000                      ☐     25,001-50,000
    creditors (on a                  ☐     50-99                        ☐     5,001-10,000                     ☐     50,001-100,000
    consolidated basis)              ☐     100-199                      ☒     10,001-25,000                    ☐     More than 100,000
                                     ☐     200-999




   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                      Case 23-90588 Document 1 Filed in TXSB on 05/24/23 Page 4 of 34
Debtor            QualTek HoldCo, LLC                                                 Case number (if known)
          Name



15. Estimated assets (on a            ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☒    $500,000,001-$1 billion
    consolidated basis)               ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on         ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☒   $500,000,001-$1 billion
    a consolidated basis)             ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         05/24/2023
                                                               MM/ DD / YYYY


                                               /s/ Cari Turner                                                    Cari Turner
                                               Signature of authorized representative of debtor                Printed name

                                               Title   Chief Restructuring Officer




18. Signature of attorney                      /s/ Genevieve M. Graham                                        Date        05/24/2023
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Genevieve M. Graham
                                               Printed name
                                               Jackson Walker L.L.P.
                                               Firm name
                                               1401 McKinney Street, Suite 1900
                                               Number                 Street
                                               Houston                                                                  Texas           77010
                                               City                                                                   State               ZIP Code

                                               (713) 752-4200                                                         ggraham@jw.com
                                               Contact phone                                                              Email address
                                               24085340                                            Texas
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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 Fill in this information to identify the case:
                                                                       ,
 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                                Chapter   11                                     amended filing


                                                    Rider 1
                     Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of QualTek Services Inc.

 •    QualTek Services Inc.
 •    AdvanTek Electrical Construction, LLC
 •    Concurrent Group LLC
 •    NX Utilities ULC
 •    QualSat, LLC
 •    QualTek Buyer, LLC
 •    QualTek Fulfillment LLC
 •    QualTek HoldCo, LLC
 •    QualTek LLC
 •    QualTek Management, LLC
 •    QualTek MidCo, LLC
 •    QualTek Recovery Logistics LLC
 •    QualTek Renewables LLC
 •    QualTek Wireless LLC
 •    QualTek Wireline LLC
 •    Site Safe, LLC
 •    The Covalent Group LLC
 •    Urban Cable Technology LLC
             Case 23-90588 Document 1 Filed in TXSB on 05/24/23 Page 6 of 34



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                        )
    In re:                                              )    Chapter 11
                                                        )
    QUALTEK HOLDCO, LLC                                 )    Case No. 23-___________(___)
                                                        )
                             Debtor.                    )
                                                        )

                                  LIST OF EQUITY SECURITY HOLDERS 1

                                                                             Type of       Percentage of
             Equity Holder               Address of Equity Holder
                                                                             Interest       Equity Held
                                       475 Sentry Parkway E, Suite 200
    QualTek Services Inc.                                                 Common Unit          52.3%
                                        Blue Bell, Pennsylvania 19422
                                          Attn: Andrew Weinberg
    BCP QualTek, LLC                            650 5th Ave               Common Unit          29.6%
                                         New York, New York 10019
                                   C/O Corporation Services Company
    QualTek Management
                                          251 Little Falls Drive          Common Unit          12.3%
    HoldCo, LLC
                                      Wilmington, Delaware 19808
                                           Attn: Andrew Weinberg
    BCP QualTek II, LLC                          650 5th Ave              Common Unit           4.4%
                                         New York, New York 10019
                                         C/O Monashee Investment
    DS Liquid Div RVA MON                    Management, LLC
                                                                          Common Unit           0.9%
    LLC                                    75 Park Plaza, Suite 2
                                        Boston, Massachusetts 02116
                                         C/O Monashee Investment
                                             Management, LLC
    Monashee Solitario Fund LP                                            Common Unit           0.5%
                                           75 Park Plaza, Suite 2
                                        Boston, Massachusetts 02116




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
          Case 23-90588 Document 1 Filed in TXSB on 05/24/23 Page 7 of 34



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 QUALTEK HOLDCO, LLC                                  )      Case No. 23-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                Shareholder                               Approximate Percentage of Shares Held
 QualTek Services Inc.                                                    52.3%
 BCP QualTek, LLC                                                         29.6%
 QualTek Management HoldCo, LLC                                           12.3%
                           Case 23-90588 Document 1 Filed in TXSB on 05/24/23 Page 8 of 34


      Fill in this information to identify the case:

      Debtor name QualTek Services Inc.

      United States Bankruptcy Court for the: Southern District of Texas
                                                                              (State)
      Case number (If known):
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the
    30 Largest Unsecured Claims and Are Not Insiders                       12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest
    unsecured claims.


     Name of creditor and complete          Name, telephone number, and                 Nature of the     Indicate if   Amount of unsecured claim
     mailing address, including zip         email address of creditor                       claim          claim is     If the claim is fully unsecured, fill in only
     code                                   contact                                     (for example,    contingent,    unsecured claim amount. If claim is
                                                                                         trade debts,   unliquidated,   partially secured, fill in total claim
                                                                                         bank loans,     or disputed    amount and deduction for value of
                                                                                         professional                   collateral or setoff to calculate
                                                                                        services, and                   unsecured claim.
                                                                                         government                     Total         Deduction         Unsecured
                                                                                          contracts)                    claim, if     for value         claim 1
                                                                                                                        partially     of
                                                                                                                        secured       collateral
                                                                                                                                      or setoff
           WILMINGTON TRUST,
           NATIONAL
           ASSOCIATION AS
           TRUSTEE
           1100 N. MARKET
           STREET
           WILMINGTON, DE 19890
                                            ATTN: QUINTON M. DEPOMPOLO
           UNITED STATES
                                            PHONE: (302) 651-1000 &
                                            (612) 217-5642                                  SR
           - AND -
      1                                     EMAIL:                                      UNSECURED                                                    $124,685,000
                                            QDEPOMPOLO@WILMINGTONTRUST                    NOTES
           WILMINGTON TRUST,
                                            .COM
           NATIONAL
                                            FAX: (612) 217-5651
           ASSOCIATION AS
           TRUSTEE
           50 SOUTH SIXTH
           STREET, SUITE 1290
           MINNEAPOLIS, MN 55402
           ATTENTION: QUALTEK
           NOTES ADMINISTRATOR
                                            ATTN: ANDREW WEINBERG
                                            PHONE: (212) 430-2500
                                            EMAIL:
           TRA HOLDER
                                            ANDREW@BRIGHTSTARCP.COM
           REPRESENTATIVE
                                                                                           TAX
           BCP QUALTEK, LLC
      2                                     - AND -                                     RECEIVABLE                                                    $15,084,000
           650 5TH AVENUE
                                                                                        AGREEMENT
           NEW YORK, NY 10019
                                            ATTN: MATTHEW ALLARD
           UNITED STATES
                                            PHONE: (212) 430-2500
                                            EMAIL:
                                            MATTHEW@BRIGHTSTARCP.COM




1      Unsecured claim amount is based on liabilities in AP as of May 19, 2023.
    Official Form 204              Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                   page 1
                         Case 23-90588 Document 1 Filed in TXSB on 05/24/23 Page 9 of 34

 Debtor   QualTek Services Inc., et al                                                 Case number (if known)
          Name



   Name of creditor and complete         Name, telephone number, and             Nature of the         Indicate if   Amount of unsecured claim
   mailing address, including zip        email address of creditor                   claim              claim is     If the claim is fully unsecured, fill in only
   code                                  contact                                 (for example,        contingent,    unsecured claim amount. If claim is
                                                                                  trade debts,       unliquidated,   partially secured, fill in total claim
                                                                                  bank loans,         or disputed    amount and deduction for value of
                                                                                  professional                       collateral or setoff to calculate
                                                                                 services, and                       unsecured claim.
                                                                                  government                         Total         Deduction         Unsecured
                                                                                   contracts)                        claim, if     for value         claim 1
                                                                                                                     partially     of
                                                                                                                     secured       collateral
                                                                                                                                   or setoff

          NETWORK WIRELESS
          SOLUTIONS, LLC                 ATTN: XAVIER WILLIAMS
          101 W CHAPEL HILL ST,          PHONE: (919) 294-6497                      TRADE
    3                                                                                                                                               $2,676,642
          STE 210                        EMAIL:                                    PAYABLE
          DURHAM, NC 27701-3255          XAVIER@NWSWIRELESS.COM
          UNITED STATES

                                         ATTN: MICHAEL UMANO
          INDUSTRIAL
                                         PHONE: (781) 319-1000
          COMMUNICATIONS, LLC
                                         EMAIL:                                     TRADE
    4     40 LONE STREET                                                                                                                            $2,650,346
                                         MJUMANO@INDUSTRIALCOMMUNICA               PAYABLE
          MARSHFIELD, MA 02050
                                         TIONS.COM
          UNITED STATES
                                         FAX: 781-837-4000
          TALLEY INC
          12976 SANDOVAL ST.             ATTN: MARK TALLEY
                                                                                    TRADE
    5     SANTA FE SPRINGS, CA           PHONE: (562) 906-8000                                                                                      $2,237,017
                                                                                   PAYABLE
          90670                          EMAIL: MTALLEY@TALLEYCOM.COM
          UNITED STATES


          APEX SITE SOLUTIONS            ATTN: KENNY BLAKESLEE
          9749 KENT ST                   PHONE: (916) 685-8619                      TRADE
    6                                                                                                                                               $1,770,608
          ELK GROVE, CA 95624            EMAIL:                                    PAYABLE
          UNITED STATES                  KENNY@APEXSITESOLUTIONS.COM


          CIGNA
                                         ATTN: DAVID CORDANI
          900 COTTAGE GROVE
                                         TITLE: CEO                                 TRADE
    7     ROAD                                                                                                                                      $1,150,715
                                         PHONE: (800) 244‐6224                     PAYABLE
          BLOOMFIELD, CT 06002
                                         EMAIL: DAVID.CORDANI@CIGNA.COM
          UNITED STATES
          R.L. CLOTWORTHY                ATTN: RICK CLOTWORTHY
          CONSTRUCTION, INC              TITLE: PRESIDENT
          26079 JEFFERSON                PHONE: (951) 693‐5130
                                                                                    TRADE
    8     AVENUE                         EMAIL:                                                                                                     $1,099,799
                                                                                   PAYABLE
          MURRIETA, CA 92562‐            RICK@CLOTWORTHYCONSTRUCTIO
          6983                           N.COM
          UNITED STATES                  FAX: (951) 693‐5240
          G&A INNOVATION
                                         ATTN: GERARDO ROBLES
          CONSTRUCTION
                                         TITLE: PRESIDENT
          16731 SANTA ANA AVE                                                       TRADE
    9                                    PHONE: (714) 200‐3642                                                                                      $1,056,866
          PMB 310879                                                               PAYABLE
                                         EMAIL:
          FONTANA, CA 92337
                                         GROBLES@GAINNOVATIONS.COM
          UNITED STATES



          ATLAS ENGINEERING              ATTN: CARLY CRAWFORD
          CONSTRUCTION INC               TITLE: OWNER
                                                                                    TRADE
   10     1333 BIG BEN ROAD              PHONE: (916) 717‐5886                                                                                       $945,468
                                                                                   PAYABLE
          LINCOLN, CA 95648              EMAIL:
          UNITED STATES                  CCRAWFORD@ATLASTELECOM.NET



          CREATIVE WORKS                 ATTN: ERIC MASON
          5070 MOUNTAIN LAKES            TITLE: OWNER
                                                                                    TRADE
   11     BLVD                           PHONE: (530) 949‐0824                                                                                       $941,100
                                                                                   PAYABLE
          REDDING, CA 96003              EMAIL:
          UNITED STATES                  SUPERIORTRAFFICE@YAHOO.COM

Official Form 204               Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                   page 2
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 Debtor   QualTek Services Inc., et al                                                 Case number (if known)
          Name



   Name of creditor and complete         Name, telephone number, and             Nature of the         Indicate if   Amount of unsecured claim
   mailing address, including zip        email address of creditor                   claim              claim is     If the claim is fully unsecured, fill in only
   code                                  contact                                 (for example,        contingent,    unsecured claim amount. If claim is
                                                                                  trade debts,       unliquidated,   partially secured, fill in total claim
                                                                                  bank loans,         or disputed    amount and deduction for value of
                                                                                  professional                       collateral or setoff to calculate
                                                                                 services, and                       unsecured claim.
                                                                                  government                         Total         Deduction         Unsecured
                                                                                   contracts)                        claim, if     for value         claim 1
                                                                                                                     partially     of
                                                                                                                     secured       collateral
                                                                                                                                   or setoff
          BAYONE SOLUTIONS,
                                         ATTN: YOGESH VIRMANI
          INC.
                                         TITLE: CEO/CO‐FOUNDER                      TRADE
   12     4637 CHABOT DR #250                                                                                                                        $932,745
                                         PHONE: (888) 537‐8068                     PAYABLE
          PLEASANTON, CA 94588
                                         EMAIL: YVIRMANI@BAYONE.COM
          UNITED STATES

          RLS‐CMC, INC.                  ATTN: ROGER SANCHEZ
          8804 W. SPANISH RIDGE          TITLE: PRESIDENT
                                                                                    TRADE
   13     AVENUE, SUITE 100              PHONE: (800) 909‐7568                                                                                       $923,589
                                                                                   PAYABLE
          LAS VEGAS, NV 89148            EMAIL: ROGER.SANCHEZ@RLS‐
          UNITED STATES                  CMC.COM
          VALMONT
          TELECOMMUNICATIONS             ATTN: STEPHEN KANIEWSKI
          INC                            TITLE: CEO                                 TRADE
   14                                                                                                                                                $915,126
          15000 VALMONT PLAZA            PHONE: (402) 963‐1000                     PAYABLE
          OMAHA, NE 68154                EMAIL: SKANIEWSKI@VALMONT.COM
          UNITED STATES
                                         ATTN: TERRY ROGERS
          NRCI TELECOM
                                         TITLE: VP
          265 APPLEGATE
                                         PHONE: (530) 878‐3970                      TRADE
   15     SCHOOL RD                                                                                                                                  $855,323
                                         EMAIL:                                    PAYABLE
          APPLEGATE, CA 95703
                                         TERRYROGERS@NRCITELECOM.CO
          UNITED STATES
                                         M

          LYNX WIRELESS
                                         ATTN: JEFF SOKOLOSKY
          SERVICES, LLC
                                         TITLE: PRESIDENT                           TRADE
   16     5100 BALD CYPRESS LN                                                                                                                       $823,310
                                         PHONE: (214) 592‐3873                     PAYABLE
          MCKINNEY, TX 75071
                                         EMAIL: JEFF@LWSWIRELESS.COM
          UNITED STATES

          TRI‐SQUARE
                                         ATTN: SHANNON BAGGALEY
          CONSTRUCTION
                                         TITLE: CFO
          COMPANY, INC
                                         PHONE: (916) 933‐3530                      TRADE
   17     994 HILLSDALE CIRCLE                                                                                                                       $792,162
                                         EMAIL: SHANNON@TRI‐                       PAYABLE
          EL DORADO HILLS, CA
                                         SQUARE.COM
          95762
                                         FAX: (916) 933‐3509
          UNITED STATES
          QUALITY TELECOM                ATTN: LAYUNIE MATTHEWS
          CONSULTANTS, INC.              TITLE: CFO
          4175 CINCINNATI                PHONE: (916) 315‐0500                      TRADE
   18                                                                                                                                                $735,360
          AVENUE                         EMAIL:                                    PAYABLE
          ROCKLIN, CA 95765              LMATTHEWS@QUALITYTELECOMINC
          UNITED STATES                  .COM

          TRICOM NETWORKS INC            ATTN: SCOT PAYNE
          24335 PRIELIPP RD              TITLE: COO
                                                                                    TRADE
   19     STE108                         PHONE: (800) 317‐8957                                                                                       $710,340
                                                                                   PAYABLE
          WILDOMAR, CA 92595             EMAIL:
          UNITED STATES                  SPAYNE@TRICOMNETWORKS.COM
                                         ATTN: KONSTANTIN SINKEVICH
                                         TITLE: PRESIDENT
          NORTHEAST UNION INC
                                         PHONE: (267) 997‐5403
          2424 STATE RD. #7                                                         TRADE
   20                                    EMAIL:                                                                                                      $694,082
          BENSALEM, PA 19020                                                       PAYABLE
                                         KONSTANTIN@NORTHEASTUNION.C
          UNITED STATES
                                         OM
                                         FAX: (215) 754‐4623



Official Form 204               Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                   page 3
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 Debtor   QualTek Services Inc., et al                                                 Case number (if known)
          Name



   Name of creditor and complete         Name, telephone number, and             Nature of the         Indicate if   Amount of unsecured claim
   mailing address, including zip        email address of creditor                   claim              claim is     If the claim is fully unsecured, fill in only
   code                                  contact                                 (for example,        contingent,    unsecured claim amount. If claim is
                                                                                  trade debts,       unliquidated,   partially secured, fill in total claim
                                                                                  bank loans,         or disputed    amount and deduction for value of
                                                                                  professional                       collateral or setoff to calculate
                                                                                 services, and                       unsecured claim.
                                                                                  government                         Total         Deduction         Unsecured
                                                                                   contracts)                        claim, if     for value         claim 1
                                                                                                                     partially     of
                                                                                                                     secured       collateral
                                                                                                                                   or setoff
          INTEGER TELECOM
          SERVICES INC                   ATTN: AMAR UPPALAPATI
          4200 MAPLESHADE LN,            TITLE: FOUNDER                             TRADE
   21                                                                                                                                                $687,945
          STE100                         PHONE: (972) 539‐4100                     PAYABLE
          PLANO, TX 75093                EMAIL: AMAR@INTEGERTEL.COM
          UNITED STATES
          SPECIALTY                      ATTN: CHRIS TEAFORD
          CONSTRUCTION, INC              TITLE: CFO
          645 CLARION COURT              PHONE: (805) 543‐1706                      TRADE
   22                                                                                                                                                $641,018
          SAN LUIS OBISPO, CA            EMAIL:                                    PAYABLE
          93401                          CTEAFORD@SPECIALTYCONSTRUCT
          UNITED STATES                  ION.COM
          PPL ELECTRIC
          UTILITIES CORP                 ATTN: VINCENT SORGI
          2 N NINTH ST                   TITLE: CEO                                 TRADE
   23                                                                                                                                                $631,182
          ALLENTOWN, PA 18104‐           PHONE: (610) 774‐5151                     PAYABLE
          9392                           EMAIL: VSORGI@PPLWEB.COM
          UNITED STATES

                                         ATTN: BRENDAN HORGAN
          SUNBELT RENTALS, INC
                                         TITLE: CEO
          2341 DEERFIELD DR                                                         TRADE
   24                                    PHONE: (803) 578‐5811                                                                                       $630,138
          FORT MILL, SC 29715                                                      PAYABLE
                                         EMAIL:
          UNITED STATES
                                         BHORGAN@SUNBELTRENTALS.COM

          CJB COMMUNICATIONS,
          INC.                           ATTN: ZACH RASMUSSEN
          11419 SUNRISE GOLD             TITLE: CEO
                                                                                    TRADE
   25     CIRCLE 1                       PHONE: (530) 402‐1370                                                                                       $616,302
                                                                                   PAYABLE
          RANCHO CORDOVA, CA             EMAIL:
          95742                          ZACH@CJBCOMMUNICATIONS.NET
          UNITED STATES

          HOTELENGINE, INC
                                         ATTN: ELIA WALLEN
          950 S CHERRY ST, 10TH
                                         TITLE: CEO                                 TRADE
   26     FLOOR                                                                                                                                      $589,076
                                         PHONE: (855) 567‐4683                     PAYABLE
          DENVER, CO 80246
                                         EMAIL: ELIA@HOTELENGINE.COM
          UNITED STATES


                                         ATTN: HECTOR VALLEJO
          MASTER INSIDE CORP
                                         TITLE: CEO
          46‐21 54TH RD                                                             TRADE
   27                                    PHONE: (917) 847‐3958                                                                                       $573,330
          MASPETH, NY 11378                                                        PAYABLE
                                         EMAIL:
          UNITED STATES
                                         HECTORV@MASTERICORP.COM

          CS MOBILE INC
                                         ATTN: CASEY SOUTHER
          2591 DALLAS PKWY
                                         TITLE: CEO                                 TRADE
   28     STE. 300                                                                                                                                   $572,140
                                         PHONE: (214) 491‐6171                     PAYABLE
          FRISCO, TX 75034
                                         EMAIL: CASEYS@CSMOBILEINC.COM
          UNITED STATES

          SWARTLEY BROTHERS
          ENGINEERS                      ATTN: GREG WEIKEL
          10 SCHOOLHOUSE RD              TITLE: MANAGER                             TRADE
   29                                                                                                                                                $571,579
          #1                             PHONE: (215) 368‐7400                     PAYABLE
          SOUDERTON, PA 18964            EMAIL: GWEIKEL@SWARTLEY.COM
          UNITED STATES


Official Form 204               Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                   page 4
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 Debtor   QualTek Services Inc., et al                                                 Case number (if known)
          Name



   Name of creditor and complete         Name, telephone number, and             Nature of the         Indicate if   Amount of unsecured claim
   mailing address, including zip        email address of creditor                   claim              claim is     If the claim is fully unsecured, fill in only
   code                                  contact                                 (for example,        contingent,    unsecured claim amount. If claim is
                                                                                  trade debts,       unliquidated,   partially secured, fill in total claim
                                                                                  bank loans,         or disputed    amount and deduction for value of
                                                                                  professional                       collateral or setoff to calculate
                                                                                 services, and                       unsecured claim.
                                                                                  government                         Total         Deduction         Unsecured
                                                                                   contracts)                        claim, if     for value         claim 1
                                                                                                                     partially     of
                                                                                                                     secured       collateral
                                                                                                                                   or setoff
          CONSTRUCTION
                                         ATTN: CARLO CENTORE
          SERVICES OF
                                         TITLE: MANAGING MEMBER
          BRANFORD, LLC                                                             TRADE
   30                                    PHONE: (203) 488‐0712                                                                                       $561,247
          63 N BRANFORD RD # 3                                                     PAYABLE
                                         EMAIL: CCENTORE@CSOFB.COM
          BRANFORD, CT 06405
                                         FAX: (203) 481‐1135
          UNITED STATES




Official Form 204               Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                   page 5
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                        OMNIBUS ACTION BY UNANIMOUS
                    WRITTEN CONSENT OF THE GOVERNING BODY

                                    Dated as of May 2, 2023

       The undersigned, being (i) all of the members of the board of directors, (ii) the sole

member, (iii) sole managing member or (iv) sole manager, as applicable (collectively or

individually, as the context so requires, the “Governing Body”) of each of the entities listed on

Schedule I hereof (each, a “Company” and collectively, the “Companies”), by their signatures

below or on a counterpart hereof, in lieu of holding a meeting of the Governing Body, hereby take

the following actions and adopt the following resolutions (the “Resolutions”) by unanimous

written consent, pursuant to the applicable bylaws or limited liability company agreements of each

Company and the applicable laws of the jurisdiction in which such Company is organized.


                                        RESOLUTIONS


Chapter 11 Filing

       WHEREAS, the Governing Body has considered presentations by the financial and legal
advisors of each Company regarding the liabilities and liquidity situation of each Company, the
strategic alternatives available to it, and the effect of the foregoing on each Company’s business;
and

        WHEREAS, the Governing Body has had the opportunity to consult with the financial and
legal advisors of the Companies and fully considered each of the strategic alternatives available to
the Companies.

       WHEREAS, the special committee (the “Committee”) of the Board of Directors of
QualTek Services Inc. (the “Board”) was formed pursuant to that certain Unanimous Written
Consent of the Board of Directors of QualTek Services Inc., dated January 31, 2023
(the “Committee Resolutions”);

        WHEREAS, pursuant to the Committee Resolutions, the Committee is authorized to take
all actions it deems necessary, advisable, or appropriate in connection with and in order to carry
out, comply with, and effectuate the purposes and intents of the Committee Resolutions; and

      WHEREAS, the Committee has had the opportunity to consult with the financial and legal
advisors of the Companies and review the chapter 11 preparation materials provided by the
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financial and legal advisors, and, to the extent of any Conflict Matter (as defined in the Committee
Resolution), the Committee recommends the adoption of the Resolutions.

      NOW, THEREFORE, BE IT,

       RESOLVED, that in the business judgment of the Governing Body, it is desirable and in
the best interests of each Company (including a consideration of its creditors and other parties in
interest) that each Company shall be, and hereby is, authorized to file, or cause to be filed, a
voluntary petition for relief (the “Chapter 11 Case”) under the provisions of chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Southern District of Texas (the “Bankruptcy Court”) and any other petition for relief or
recognition or other order that may be desirable under applicable law in the United States; and

       RESOLVED, that the chief executive officer, the chief financial officer, the chief
restructuring officer, the general counsel, or any other duly appointed officer of each Company
(collectively, the “Authorized Signatories”), acting alone or with one or more other Authorized
Signatories be, and they hereby are, authorized, empowered and directed to execute and file on
behalf of each Company all petitions, schedules, lists and other motions, papers, or documents,
and to take any and all action that they deem necessary or proper to obtain such relief, including,
without limitation, any action necessary to maintain the ordinary course operation of each
Company’s business;

Retention of Professionals

       RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International
LLP (together, “Kirkland”) as general bankruptcy counsel to represent and assist each Company
in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
each Company’s rights and obligations, including filing any motions, objections, replies,
applications or pleadings; and in connection therewith, each of the Authorized Signatories, with
power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of Kirkland.

        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the law firm of Jackson Walker LLP (“Jackson Walker”) as local
bankruptcy counsel and conflicts counsel to represent and assist each Company in carrying out
its duties under the Bankruptcy Code, and to take any and all actions to advance each Company’s
rights and obligations, including filing any motions, objections, replies, applications or pleadings;
and in connection therewith, each of the Authorized Signatories, with power of delegation, is
hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain the services of
Jackson Walker.

       RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm Jefferies LLC (“Jefferies”) as investment banker to, among other
things, assist each Company in evaluating its business and prospects, developing a long-term

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business plan, developing financial data for evaluation by the Board, creditors, or other third
parties, as requested by each Company, evaluating each Company’s capital structure, responding
to issues related to each Company’s financial liquidity, and in any sale, reorganization, business
combination, or similar disposition of each Company’s assets; and in connection therewith, each
of the Authorized Signatories, with power of delegation, is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of Jefferies.

       RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of Alvarez & Marsal, (“A&M”), as restructuring advisor, and to
take any and all actions to advance each of each Company’s rights and obligations; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers,
and to cause to be filed an appropriate application for authority to retain the services of A&M.

       RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of Epiq Corporate Restructuring, LLC (“Epiq”) as notice and
claims agent to represent and assist each Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance each Company’s rights and obligations; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers,
and to cause to be filed appropriate applications for authority to retain the services of Epiq.

       RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ the firm of C Street Advisory Group, LLC, (“C Street”) as
communications advisor, and to take any and all actions to advance each Company’s rights and
obligations; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed appropriate applications for authority to retain the
services of C Street.

       RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized
and directed to employ any other professionals to assist each Company in carrying out its duties
under the Bankruptcy Code; and in connection therewith, each of the Authorized Signatories,
with power of delegation, is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary.

       RESOLVED, that each of the Authorized Signatories be, and they hereby are, with power
of delegation, authorized, empowered and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Signatories
deem necessary, proper, or desirable in connection with each Company’s Chapter 11 Case, with
a view to the successful prosecution of such case.



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Cash Collateral, Debtor in Possession Financing, and Adequate Protection

       WHEREAS, certain of the Companies are parties to that certain ABL Credit and Guaranty
Agreement, dated as of July 18, 2018, by and among QualTek LLC (f/k/a QualTek USA, LLC)
(as successor by merger to BCP QualTek Merger Sub, LLC), as borrower, QualTek Buyer, LLC
(f/k/a BCP QualTek Buyer, LLC) and certain subsidiaries of QualTek LLC (f/k/a Qualtek USA,
LLC), as guarantors, PNC Bank, National Association, as administrative agent and collateral
agent, and each of the lenders party thereto (the “ABL Lenders”) (as amended, restated, amended
and restated, supplemented, or otherwise modified from time to time, the “ABL Credit
Agreement,” and the facilities thereunder, the “ABL Facility”);

         WHEREAS, certain of the Companies are parties to that certain Term Credit and Guaranty
Agreement, dated as of July 18, 2018, by and among QualTek LLC (f/k/a QualTek USA, LLC)
(as successor by merger to BCP QualTek Merger Sub, LLC), as borrower, QualTek Buyer, LLC
(f/k/a BCP QualTek Buyer, LLC) and certain subsidiaries of QualTek LLC (f/k/a Qualtek USA,
LLC), as guarantors, Citibank, N.A, as administrative agent and collateral agent, and each of the
lenders party thereto (the “Term Loan Lenders,” and together with the ABL Lenders, the
“Prepetition Secured Lenders”) (as amended, restated, amended and restated, supplemented, or
otherwise modified in writing from time to time, the “Term Loan Credit Agreement,” and the
facilities thereunder, the “Term Loan Facility”); and

       WHEREAS, reference is made to (i) that certain debtor-in-possession term loan credit
agreement (together with all exhibits, schedules, and annexes thereto, as amended, restated,
amended and restated, supplemented or otherwise modified in writing from time to time, the
“Term Loan DIP Credit Agreement”) dated as of, or about, the date hereof, that sets forth the
terms and conditions of the debtor-in-possession financing to be provided to Companies by the
lenders listed therein (the “Term Loan DIP Lenders”) and (i) that certain debtor-in-possession
asset-based revolving credit agreement (together with all exhibits, schedules, and annexes thereto,
as amended, restated, amended and restated, supplemented or otherwise modified in writing from
time to time, the “ABL DIP Credit Agreement”, and together with the DIP Term Loan Credit
Agreement, the “DIP Credit Agreements”) dated as of, or about, the date hereof, that sets forth
the terms and conditions of the debtor-in-possession asset-based revolving credit facility to be
provided to Companies by the lenders listed therein (the “ABL DIP Lenders”, and together with
the Term Loan DIP Lenders, the “DIP Lenders”).




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      NOW, THEREFORE, BE IT,

       RESOLVED, that each Company will obtain benefits from (a) the use of collateral,
including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
(the “Cash Collateral”), which is security for the Prepetition Secured Lenders under the ABL
Facility, and (b) the incurrence of debtor in possession financing obligations pursuant to the DIP
Credit Agreements (the “DIP Financing”).

       RESOLVED, that in order to use and obtain the benefits of (a) the DIP Financing and
(b) the Cash Collateral, and in accordance with section 363 of the Bankruptcy Code, each
Company will provide certain liens, claims, and adequate protection to the Prepetition Secured
Lenders and the DIP Lenders (the “DIP Obligations”) as documented in a proposed order in
interim and final form (the “DIP Orders”) and submitted for approval to the Bankruptcy Court.

       RESOLVED, that the form, terms, and provisions of the DIP Orders to which each
Company is or will be subject, and the actions and transactions contemplated thereby be, and
hereby are authorized, adopted, and approved, and each of the Authorized Signatories of each
Company be, and hereby is, authorized and empowered, in the name of and on behalf of each
Company, to take such actions and negotiate or cause to be prepared and negotiated and to
execute, deliver, perform, and cause the performance of, the DIP Orders, and such other
agreements, certificates, instruments, receipts, petitions, motions, or other papers or documents
to which each Company is or will be a party, including, but not limited to, any security and pledge
agreement or guaranty agreement (collectively with the DIP Orders, the “DIP Documents”), incur
and pay or cause to be paid all fees and expenses and engage such persons, in each case, in the
form or substantially in the form thereof submitted to the Companies, with such changes,
additions, and modifications thereto as the officers of each Company executing the same shall
approve, such approval to be conclusively evidenced by such officers’ execution and
delivery thereof.

      RESOLVED, that each Company, as debtor and debtor in possession under the Bankruptcy
Code be, and hereby is, authorized to incur the DIP Obligations and certain obligations related to
the DIP Financing and to undertake any and all related transactions on substantially the same
terms as contemplated under the DIP Documents, including entering into fee letters with the
applicable DIP agents (collectively, the “DIP Transactions”), including guaranteeing such
obligations and granting liens on its assets to secure such obligations.

       RESOLVED, that the Authorized Signatories of each Company be, and they hereby are,
authorized and directed, and each of them acting alone hereby is, authorized, directed, and
empowered in the name of, and on behalf of, each Company, as debtors and debtors in possession,
to take such actions as in their discretion is determined to be necessary, desirable, or appropriate
and execute the DIP Transactions, including delivery of: (a) the DIP Documents; (b) such other
instruments, certificates, notices, assignments, agent fee letters, and documents as may be
reasonably requested by the agents; and (c) such forms of deposit, account control agreements,
officer’s certificates, and compliance certificates as may be required by the DIP Documents.




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       RESOLVED, that each of the Authorized Signatories of each Company be, and hereby is,
authorized, directed, and empowered in the name of, and on behalf of, each Company to file or
to authorize the agents to file any Uniform Commercial Code (the “UCC”) financing statements,
any other equivalent filings, any intellectual property filings and recordation and any necessary
assignments for security or other documents in the name each Company that the agents deem
necessary or appropriate to perfect any lien or security interest granted under the DIP Order,
including any such UCC financing statement containing a generic description of collateral, such
as “all assets,” “all property now or hereafter acquired” and other similar descriptions of like
import, and to execute and deliver, and to record or authorize the recording of, such mortgages
and deeds of trust in respect of real property of each Company and such other filings in respect
of intellectual and other property of each Company, in each case as the agents may reasonably
request to perfect the security interests of the agents under the DIP Order or any of the other DIP
Documents.

       RESOLVED, that each of the Authorized Signatories of each Company be, and hereby is,
authorized, directed, and empowered in the name of, and on behalf of, each Company to take all
such further actions, including, without limitation, to pay or approve the payment of all fees and
expenses payable in connection with the DIP Transactions and all fees and expenses incurred by
or on behalf of each Company in connection with the foregoing resolutions, in accordance with
the terms of the DIP Documents, which shall in their sole judgment be necessary, desirable,
proper, or advisable to perform any of each Company’s obligations under or in connection with
the DIP Order or any of the other DIP Documents and the transactions contemplated therein and
to carry out fully the intent of the foregoing resolutions.

General

       RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates)
be, and they hereby are, individually authorized and empowered, in the name of and on behalf of
each Company, to take or cause to be taken any and all such other and further action, and to
execute, acknowledge, deliver and file any and all such agreements, certificates, instruments and
other documents and to pay all expenses, including but not limited to filing fees, in each case as
in such officer’s judgment, shall be necessary, advisable, convenient or desirable in order to fully
carry out the intent and accomplish the purposes of the Resolutions adopted herein.

       RESOLVED, that the Governing Body has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing Resolutions, as may be required
by the organizational documents of each Company, or hereby waive any right to have received
such notice.

       RESOLVED, that all acts, actions and transactions relating to the matters contemplated by
the foregoing Resolutions done in the name of and on behalf of each Company, which acts would
have been approved by the foregoing Resolutions except that such acts were taken before the
adoption of these Resolutions, are hereby in all respects approved and ratified as the true acts and
deeds of each Company.

                                               ***

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        IN WITNESS WHEREOF, the undersigned, constituting the Board of QualTek Services
Inc. does hereby consent to the foregoing actions and resolutions effective as of the date first
written above.



                                                    Andrew Weinberg



                                                    C. Scott Hisey



                                                    Matthew
                                                    M
                                                    Ma tthew Allard
                                                       tth
                                                       tt



                                                    Emanuel Pearlman



                                                    Dan Lafond



                                                    Bruce Roberson



                                                    John Kritzmacher



                                                    Cielo Hernandez


                                                    Alan Carr


                                                   BEING ALL THE DIRECTORS OF
                                                   QUALTEK SERVICES INC.




                                             OMNIBUS
                                  BOARD CONSENT- CHAPTER 11 FILING
                                          SIGNATURE PAGE
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        IN WITNESS WHEREOF, the undersigned, constituting the Board of QualTek Services
Inc. does hereby consent to the foregoing actions and resolutions effective as of the date first
written above.



                                                    Andrew Weinberg



                                                    C. Scott Hisey



                                                    Matthew Allard



                                                    Emanuel
                                                    Em
                                                     man
                                                       anue
                                                         uel
                                                         ue
                                                          el Pearlman
                                                             Peear
                                                             P ear
                                                                arlm
                                                                   lman
                                                                   lman
                                                                   lm



                                                    Dan Lafond



                                                    Bruce Roberson



                                                    John Kritzmacher



                                                    Cielo Hernandez


                                                    Alan Carr


                                                   BEING ALL THE DIRECTORS OF
                                                   QUALTEK SERVICES INC.




                                             OMNIBUS
                                  BOARD CONSENT- CHAPTER 11 FILING
                                          SIGNATURE PAGE
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        IN WITNESS WHEREOF, the undersigned, constituting the Board of QualTek Services
Inc. does hereby consent to the foregoing actions and resolutions effective as of the date first
written above.



                                                    Andrew Weinberg



                                                    C. Scott Hisey



                                                    Matthew Allard



                                                    Emanuel Pearlman



                                                    Dan Lafond



                                                    Bruce Roberson



                                                    John Kritzmacher



                                                    Cielo Hernandez


                                                    Alan Carr


                                                   BEING ALL THE DIRECTORS OF
                                                   QUALTEK SERVICES INC.




                                             OMNIBUS
                                  BOARD CONSENT- CHAPTER 11 FILING
                                          SIGNATURE PAGE
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                                           Schedule I

                               Entity                    Jurisdiction of Formation
                AdvanTek Electrical Construction, LLC             Delaware
                      Concurrent Group LLC                         Florida
                     The Covalent Group LLC                    Pennsylvania
                         NX Utilities ULC                     British Columbia
                           QualSat, LLC                           Delaware
                       QualTek Buyer, LLC                         Delaware
                     QualTek Fulfillment LLC                      Delaware
                      QualTek HoldCo, LLC                         Delaware
                           QualTek LLC                            Delaware
                    QualTek Management, LLC                       Delaware
                       QualTek MidCo, LLC                         Delaware
                  QualTek Recovery Logistics LLC                  Delaware
                     QualTek Renewables LLC                         Texas
                       QualTek Services Inc                       Delaware
                      QualTek Wireless LLC                        Delaware
                      QualTek Wireline LLC                        Delaware
                          Site Safe, LLC                          Delaware
                   Urban Cable Technology LLC                  Pennsylvania




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    Fill in this information to identify the case and this filing:

   Debtor Name          QualTek HoldCo, LLC

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                        05/24/2023                                /s/ Cari Turner
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 Cari Turner
                                                                                 Printed name
                                                                                 Chief Restructuring Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
